                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                    CR NO. 19-4440-MV
                                               )
              v.                               )
                                               )
NICHOLOUS PHILLIPS,                            )
                                               )
                      Defendant.               )


          UNITED STATES’ MOTION REQUESTING RULE 17(c) SUBPOENA

       Pursuant to Federal Rule of Criminal Procedure 17(c), the United States seeks leave to

obtain information in the form of multimedia data in advance of trial through one subpoena decues

tecum. Specifically, the United States requests permission to issue one subpoena duces tecum to

the Albuquerque Police Department for all lapel camera video, dispatch and radio traffic, and all

other multimedia relating to the November 15, 2019, incident concerning Nicholous Phillips in

Albuquerque, New Mexico.           The United States seeks all records in the possession of the

Albuquerque Police Department relative to Defendant Nicholous Phillips.

       In United States v. Nixon, 418 U.S. 683 (1974), the Supreme Court set forth the prerequisite

showings necessary to obtain a subpoena for the pre-trial production of information pursuant to

Rule 17(c) and within its scope. The Court stated:

       [I]n order to require production prior to trial, the moving party must show: (1) that
       the documents are evidentiary and relevant; (2) that they are not otherwise
       procurable reasonably in advance of trial by exercise of due diligence; (3) that the
       party cannot properly prepare for trial without such production and inspection in
       advance of trial and that the failure to obtain such inspection may tend unreasonably
       to delay the trial; and (4) that the application is made in good faith and is not
       intended as a general "fishing expedition."



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Nixon, 418 U.S. at 699-700. As set forth below, the United States’ request meets each of these

requirements.

       1.       Defendant Nicholous Phillips was indicted on one count of being a felon in

possession of a firearm and ammunition and one count of possession with intent to distribute a

controlled substance, to wit: methamphetamine, on or about November 15, 2019. Doc. 4.

       2.       Trial in this matter is presently scheduled for January 27, 2020 before the

Honorable Martha Vasquez.

       3.       The United States intends to introduce into evidence multimedia from the

Albuquerque Police Department officers on scene during Nicholous Phillips’ arrest on November

15, 2019.

       4.       The United States requests that the Court issue a subpoena directed to the

Albuquerque Police Department to produce all lapel camera video, dispatch and radio traffic, and

all other multimedia relating to the November 15, 2019, incident concerning Nicholous Phillips,

DOB xx-xx-1979, SSN xxx-xx-2061, that took place at 10012 Cochiti Road SE in Albuquerque,

New Mexico.

       5.       The issuance of this subpoena will facilitate obtaining information prior to trial and

allow for both parties to utilize it before its production in court. This multimedia data could be

obtained by the issuance of a subpoena duces tecum at trial but that would not allow for the full

utilization of the information by both parties.

       6.       The multimedia data is relevant to prove the underlying charges of felon in

possession of a firearm and ammunition and possession with intent to distribute a controlled

substance, to wit: methamphetamine, and the United States intends to use it as part of its proof.

Nixon, 418 U.S. at 699-700. Gaining access to this information is critical in order to assess the



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scene as it unfolded that evening and the Defendant’s actions which underlie the two charges.

       7.      The information the United States seeks is in the custody of the Albuquerque Police

Department and are not obtainable prior to trial, absent undue delay, without a subpoena. Id.

Specifically, the United States requests the above-specified multimedia data from the following

officers who were present on scene:

       Christopher Ferguson
       Emmanuel Solis
       Jonathan Sanchez
       Tanner Tixier
       Richard Evans
       Luke Languit
       David Small
       Aaron Vargas
       Ian Ross
       Christopher Duda
       Michele Ackerson
       Gerardo Gamboa-Aniles
       Brenda Molloy

       8.      The United States’ efforts to secure this multimedia data will assist both parties to

properly prepare for trial and avoid any unnecessary delay during trial. Id. Consequently, the pre-

trial production of this information is necessary. Until the United States gains access to the

requested lapel camera video, dispatch and radio traffic, and all other multimedia, it may have an

incomplete understanding of the scene and Defendant’s actions which led to his arrest. Additional

delay will be avoided only through the issuance of the requested subpoena.

       9.      The United States is seeking to obtain this multimedia as discovery in good faith.

Id. The specific information is directly relevant to the issues currently pending before this Court.

All information obtained will be useful to both the United States and Defendant in their preparation

for any evidentiary hearings and the trial.

       10.     The proposed form of the subpoena is attached as Government’s Exhibit 1.



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       11.     Counsel for Defendant, Kari Converse, was contacted on December 12, 2019, and

she concurs with this Motion.

       WHEREFORE, the United States respectfully requests that this Court issue an order

permitting the United States to issue a subpoena pursuant to Rule 17(c) of the Federal Rules of

Criminal Procedure to the Albuquerque Police Department for any and all lapel camera video,

dispatch and radio traffic, and all other multimedia relating to the November 15, 2019, incident

concerning Nicholous Phillips, DOB xx-xx-1979, SSN xxx-xx-2061, that took place at 10012

Cochiti Road SE in Albuquerque, New Mexico. The United States further requests that this Court

grant that the production of this information be made to the United States within five business days

of the issuance of the subpoena.

                                                             Respectfully submitted,
                                                             JOHN C. ANDERSON
                                                             United States Attorney


                                                             /s/ Jaymie L. Roybal
                                                             JAYMIE L. ROYBAL
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I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused defense counsel, Kari Converse, to be
served by electronic means, as reflected on the Notice
of Electronic Filing as indicated therein on
December 12, 2019.


/s/
Jaymie L. Roybal
Assistant United States Attorney




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